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IN THE CIRCUIT COURT OF ASHLEY COUNTY, ARKANSAS

CIVIL DIVISION

CLOVERDALE ASSEMBLY OF GOD, INC. PLAINTIFF

VS. NO. 02CV-22.-25 3,

CHURCH MUTUAL INSURANCE COMPANY, S.L. DEFENDANT
COMPLAINT

COMES NOW, the Plaintiff, CLOVERDALE ASSEMBLY OF GOD, INC., by and
through its attorneys, Griffin, Rainwater & Draper, P.L.C., and for its cause of action against
the Defendant, CHURCH MUTUAL INSURANCE COMPANY, S.I., would state and allege,
as follows:

1. That the Plaintiff, CLOVERDALE ASSEMBLY OF GOD, INC., hereinafter
referred to as “CLOVERDALE”, is a not-for-profit corporation organized and existing under
the laws of the State of Arkansas, with its principal address at 132 Ashley Road 15, in
Crossett, Ashley County, Arkansas.

2. That the Defendant, CHURCH MUTUAL INSURANCE COMPANY, S.L.,
hereinafter’referred to as “CHURCH MUTUAL”, is a foreign insurance corporation, ‘duly
authorized to transact business in the State of Arkansas, whose agent for service of process is
identified as Corporation Service Company, 300 Spring Building, Suite 900, 300 South Spring
Street, Little Rock, Arkansas 72201.

By That this action is contractual in the nature and involves insurance written by
CHURCH MUTUAL, covering buildings and improvements owned by CLOVERDALE

located in Ashley County, Arkansas.
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4, That this Gourt has proper jurisdiction of the parties and subject matter of this
action.

5. That, on or about January 11, 2020, a tornadic event occurred in the
immediate vicinity of the CLOVERDALE property on Ashley Road 15, in Ashley County,
Arkansas, causing damage to the church sanctuary situated on the property. At all times
pertinent hereto (including the month of January 2020), the church and buildings
maintained on the property were covered for damage under CHURCH MUTUAL
INSURANCE COMPANY, 5.1, Policy No. 0075697-02-012040, a copy of which is in the
possession of the Defendant, as the issuing party of the policy, but which will be provided to —
the records under separate cover, at the request of the Defendant.

6. That, by the terms of the above referenced insurance policy, the church
property, including the sanctuary was insured against loss resulting from the collapse of the
building due to wind damage, including the tornadic event which occurred on January 11,
2020.

7. That, as a result of the collapse of the sanctuary, the Plaintiff, CLOVERDALE,
has sustained damage in the amount of One Million Six Hundred Thousand Dollars
($1,600,000.00), representing the cost of repairing the sanctuary of the church.

8. That the Plaintiff has notified the Defendant of its claim under the policy, but
the Defendant has denied the claim, and refused payment under the policy.

9. WHEREFORE, PREMISES CONSIDERED, the Plaintiff, CLOVERDALE
ASSEMBLY OF GOD, INC., prays for judgment against the Defendant, CHURCH MUTUAL
INSURANCE COMPANY, S.I., in the amount of One Million Six Hundred Thousand Dollars
($1,600,000.00); interest at the legal rate; Twelve Percent (12%) statutory penalty; and, for its
attorney fees and costs.

Respectfully submitted,
CLOVERDALE ASSEMBLY OF GOD, INC.,
Plaintiff

Griffin, Rainwater & Draper, P.L.C.,
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Paul S. Rainwater, #74126
P.O. Box 948

Crossett, AR 71635

(870) 364-2111
prainwater@windstream.net

